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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS                                     FILED
                                      EL PASO DIVISION
                                                                                            20150EC19 AtiIOt2
 ABDINOOR FARAH ADEN,                                                                      ;DFTRICT Of          TEXA
    Petitioner,

 V.
                                                                       EP-18-CV-373-DB
 KIRSTJIEN NIELSEN, in her official
 capacity as Secretary of Homeland
 Security, MATTHEW G. WHITAKER,
 in his official capacity as Acting
 Attorney General of the United States,
 and DIANE WHITTE, in her official
 capacity as El Paso Field Office
 Director of Detention for U.S.
 Immigration and Customs
 Enforcement,
     Respondents.

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                  On this day, the Court considered Petitioner Abdinoor Farah Aden's ("Mr.

Aden") "Petition for a Writ of Habeas Corpus Pursuant to 28 U.s.c           §   2241" ("Petition"), filed in

the above-captioned case on December 7, 2018.              Therein, Mr. Aden asks the Court to issue an

order declaring his detention unauthorized by the Immigration and Nationality Act of 1952, as

amended by the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 and the

Administrative Procedure Act, and the Due Process clause of the Fifth Amendment.

Specifically, he argues that his continued detention violates 8 U.S.C.          §   23 12(a)(6), which

requires that "if the alien does not leave or is not removed within the removal period, the alien,

pending removal, shall be subject to supervision. . ." 8 U.S.C. §2312(a)(6).               As mandated in

Zadvydas   v.   Davis,   federal immigration officials may not detain a person indefinitely.         533 U.S.

678, 678 (2001).         Petitioner was denied asylum by an Immigration Judge on March 8, 2018.

His order of removal became final thirty days after this date.         The six-month presumptively

reasonable period for removal efforts has expired.
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                Mr. Aden further asks the Court to issue an order releasing him immediately from

the custody of the Department of Homeland Security and U.S. Immigration and Customs

Enforcement.     After due consideration, the Court is of the opinion that the following orders

should enter.

                IT IS HEREBY ORDERED that the District Clerk SERVE Petitioner Abdinoor

Farah Aden's "Petition for a Writ of Habeas Corpus Pursuant to 28 U.S.0     §   2241" on

Respondents Secretary of Homeland Security Kirstjen Nielsen, Acting Attorney General

Matthew G. Whitaker, and El Paso Field Office Director of Detention for U.S. Immigration and

Customs Enforcement Diane Witte through the United States Attorney for the Western District

of Texas and the Attorney General of the United States, along with this Order.

                IT IS FURTHER ORDERED that on or before December 27, 2018,

Respondents SHOW CAUSE why the relief Petitioner Abdinoor Farah Aden seeks in his

Petition should not be granted and make a return certifying the true cause of the detention in

compliance with 28 U.S.C.    §   2243.

                SIGNED this 19th day of December 2018.




                                                                    DAVID BRIONES
                                                         UNITED STATES DISTRICT JUDGE




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